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                 Exhibit H
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                                                                                            Patrick Clausen




10/12/2022



To: The Honorable Judge Roman

        I have known Aaron Finn since about 2009 when we both worked at Poughkeepsie Journal
delivering news papers overnight to make ends meet. I was the best man at his wedding, my Son calls
him Uncle and from 2014-2020, for 6 years we were coworkers at Green Haven Correctional. I am a
Correction Officer as well.

        As a person and as a friend I have found Aaron to be quite simply trustworthy, reliable and
charitable, he has a soft spot for people who genuinely can’t help themselves. He worked endless
amounts of overtime to buy a house that he could put his elderly and disabled parents in while he
himself stayed in a small rundown mobile home. I have shown up at his house and not been able to find
him only to see him 2 doors down mowing an elderly neighbor’s lawn because the man just couldn’t
anymore. When a ball joint on my car blew out and the wheel of my car literally fell off in the middle of
Kingston at 2am he helped me fix it. More recently he spent a few weeks of his off time at an older
woman’s house in my area undoing what another contractor had done full well knowing that as much as
she meant it, he would never get paid. As a friend I have trusted with my family as an officer I trusted
him to have my back. Aaron is that guy, the guy that tries to do the right thing when no one is looking or
when it may never be seen.

          In October of 2019, I wasn’t there when he was stabbed, because he was working MY job, MY
post, and MY shift. He was working for me so I could have time with my family with the promise that I
would cover a shift of his at a later date. I am the person he called on the way to the hospital. This event
when Mr. Finn was stabbed repeatedly by an incarcerated individual was in the words of Commissioner
Annuci “the worst example of a fellow officer failing to come to the aid of another he had ever seen”.
Aaron and I had multiple discussions about this at my dinner table, from my vantage point and personal
relationship I could definitely see differences from before and after. Predominately his anxiety and just
overall levels of jumpiness when he returned to work were much higher. I know that he had seen some
sort of doctor after the incident and was taking medication for it. In my opinion it wasn’t being stabbed
that truly affected him, it was the body camera footage that he saw well after the fact; multiple people
literally standing there frozen not acting while he was literally on the floor being stabbed in the neck.
Seeing his “friends/brothers in blue” on camera standing there not doing anything combined with the
county DA declining to prosecute for lack of evidence, broke a part of him.
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        In regards to the incident of March 2020 Aaron did it, he admits it, he accepted it. He used an
excessive amount of force on a mechanically restrained Incarcerated Individual. Again he was working
MY post, MY job, MY shift and again I am the person he called on the way to the hospital to have his
hand x-rayed so I was able to talk to him about it immediately after the fact. He was also at my house
the very next day after he had been ordered back to work and administratively locked out having a near
panic attack trying to figure things out. I really believe at that time on that day he blacked out and
doesn’t remember what he did. Do I believe that the incident in October 2019 contribute to what
happened? I unequivocally do, I also believe that the Department of Corrections also contributed;
“they” made him see a Doctor for his knee before he came back but not Mental Health.

         In the time since this incident he has tried to move on, he resigned from DOCCS, started his own
handyman business, has become a new father, and continues to do his best for his Mother and disabled
Father. It is in my sincere hope that you take this letter into consideration at sentencing and allow Aaron
to continue caring as best he can for his family. Despite what happened and what he did I believe that
Aaron is a good person and that the world is a better place with people like him in it than without.




                                                                            Respectfully




                                                                          Patrick Clausen
